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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF INDIANA
                                     INDIANAPOLIS DIVISION

 MARVIN SMITH,                                             )
                                                           )
                                 Petitioner,               )
                                                           )
                           v.                              )        No. 1:18-cv-03293-JMS-MJD
                                                           )
 UNITED STATES OF AMERICA,                                 )
                                                           )
                                 Respondent.               )


               Entry Granting Motion to Vacate, Set Aside, or Correct Sentence

        For the reasons explained in this Entry, the motion, dkt [1], supplement, dkt [2], first

 amended motion, dkt [22], second amended motion, dkt [38], and second supplement, dkt [39],

 filed by Petitioner Marvin Smith seeking relief pursuant to 28 U.S.C. § 2255 is granted to the

 extent that Smith's criminal Judgment is vacated and he is entitled to resentencing.

                                               I. § 2255 Overview

        A motion pursuant to 28 U.S.C. § 2255 is the presumptive means by which a federal

 prisoner can challenge his conviction or sentence. See Davis v. United States, 417 U.S. 333, 343

 (1974). A court may grant relief from a federal conviction or sentence pursuant to § 2255 "upon

 the ground that the sentence was imposed in violation of the Constitution or laws of the United

 States, or that the court was without jurisdiction to impose such sentence, or that the sentence was

 in excess of the maximum authorized by law, or is otherwise subject to collateral attack." 28 U.S.C.

 § 2255(a). The scope of relief available under § 2255 is narrow, limited to "an error of law that is

 jurisdictional, constitutional, or constitutes a fundamental defect which inherently results in a

 complete miscarriage of justice." Borre v. United States, 940 F.2d 215, 217 (7th Cir. 1991)

 (internal citations omitted).

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                                           II. Discussion

    A. Background

        On December 31, 2015, Marvin Smith entered a Kroger pharmacy, located at 680 Twin

 Aire Drive, in Indianapolis, Indiana. He approached the pharmacy counter and handed a computer

 printed note to a pharmacy technician that read as follows:

        OXYCODONE 30mg QTY 300
        OXYDOCONE 20mg
        OXYCODONE 15mg
        TUSSIONEX

        I have a gun. Do not trip that silent alarm. Lets all make it to see 2016. We can all
        go home in one piece. I am so NOT PLAYING. THANKS 4 YOUR
        COOPERATION

 United States v. Smith, Case Number 1:16-cr-129-JMS-TAB-1 (hereinafter "Crim. Dkt."), 56, ¶ 6.

        Smith lifted his shirt to display a handgun tucked into his waistband. He threatened the

 pharmacist not to make any moves or he would be the first to die. The pharmacist complied and

 gave Smith multiple bottles of Oxycontin, valued at $717.97.

        Smith then fled the store on foot. Detectives later viewed store surveillance video and

 noticed Smith get into a mid-2000s black four door Chrysler 300. The video was submitted to the

 forensic video unit and documented. Crim. Dkt. 56, ¶ 7.

        On May 10, 2016, Smith entered a Kroger pharmacy located at 7101 E. 10th Street, in

 Indianapolis. He approached the pharmacy counter and handed a note to a pharmacy technician

 that read as follows:

        ROBBERY

        Give me ALL Oxycodone 30mg, Oxycodone 20mg & Oxycodone 15mg

        Don't use the phone, don't hit that silent alarm and most importantly DON'T PLAY
        WITH ME. I SWEAR I HAVE A GUN. DON'T CALL MY BLUFF!!!!!!



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 Crim. Dkt. 56, ¶ 8.

        The pharmacist complied, placing multiple bottles (approximately 1500 to 2000 pills) of

 Oxycodone, valued at $3,558.92, in a bag and giving it to Smith. Detectives later viewed store

 surveillance video and noticed Smith get into a mid-2000 black four door Chrysler 300. The video

 was submitted to the forensic video unit and documented. Crim. Dkt. 56, ¶ 9.

        On May 12, 2016, while driving a 2007 black Chrysler 300, Smith was stopped for a traffic

 violation. Officers arrested him for driving on a suspended license with a prior conviction.

 Detectives compared his booking photo to the still images obtained from the Kroger robberies on

 December 31, 2015, and May 10, 2016, and concluded that Smith was likely the same person.

        Seven days later, Smith was arrested for the robberies. At the time of the arrest, he had a

 plastic bag containing approximately 100 Oxycodone pills. He admitted that he received the pills

 when he robbed a Kroger on May 10, 2016.

     B. Smith's Convictions and Sentence

        In 2018, Smith pleaded guilty to two counts of interference with commerce by robbery, in

 violation of 18 U.S.C. § 1951(a) ("Hobbs Act Robbery"). Crim. Dkt. 61. Under the terms of his

 plea agreement, Smith stipulated to the facts supporting his pleas of guilty, waived his right to file

 a direct appeal and, other than claims of ineffective assistance, waived his right to challenge his

 conviction or sentence in a § 2255 motion. Crim. Dkt. 47.

        On March 9, 2018, Smith was sentenced to a term of 105 months' imprisonment after the

 Court found that he was a career offender under United States Sentencing Guidelines ("U.S.S.G.")

 § 4B1.1. This determination was made under the 2016 edition of the Sentencing Guidelines. 1 Crim.

 Dkt. 56 ¶ 14. Section 4B1.1 provides:


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   At this time the Guidelines were understood to be advisory. See United States v. Booker, 543 U.S. 220
 (2005).
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        (a) A defendant is a career offender if (1) the defendant was at least eighteen years old at
        the time the defendant committed the instant offense of conviction; (2) the instant offense
        of conviction is a felony that is either a crime of violence or a controlled substance offense;
        and (3) the defendant has at least two prior felony convictions of either a crime of violence
        or a controlled substance offense.

 Section 4B1.2 defines a crime of violence as:

        any offense under federal or state law, punishable by imprisonment for a term
        exceeding one year, that—

        (1) has as an element the use, attempted use, or threatened use of physical force
        against the person of another, or

        (2) is murder, voluntary manslaughter, kidnapping, aggravated assault, a forcible
        sex offense, robbery, arson, extortion, or the use or unlawful possession of a firearm
        described in 26 U.S.C. § 5845(a) or explosive material as defined in 18 U.S.C.
        § 841(c).

 Smith's career criminal status under the Guidelines was supported by the following prior offenses:

        •      a 2006 Indiana felony burglary conviction (Marion County Superior Court,
               Cause No. 49G02-0607-FC-122235), Crim. Dkt. 56, ¶ 40;

        •      a 2009 Indiana felony robbery conviction (Marion County Superior Court,
               Cause No. 49G02-0812-FC-271436), Crim. Dkt. 56, ¶ 42; and

        •      a 2009 Indiana felony robbery conviction (Marion County Superior Court,
               Cause No. 49G05-0901-FC-014232), Crim. Dkt. 56, ¶ 43.

 An offense level of 29 combined with Smith's criminal history category of VI resulted in a

 sentencing range of 151 to 188 months imprisonment under the Guidelines. Crim. Dkt. 56, ¶ 81.

 Thus, the 105-month term of imprisonment was below the sentencing guideline range. Smith did

 not appeal.

                                   III. Smith's Claims for Relief

        Smith argues that his trial counsel was ineffective for failing to challenge the career

 offender enhancement under the sentencing guidelines, USSG § 4B1.1, and for failing to file a

 notice of appeal.


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        A petitioner claiming ineffective assistance of counsel bears the burden of showing (1) that

 trial counsel's performance fell below objective standards for reasonably effective representation

 and (2) that this deficiency prejudiced the defense. Strickland v. Washington, 466 U.S. 668, 688–

 94 (1984); United States v. Jones, 635 F.3d 909, 915 (7th Cir. 2011). If a petitioner cannot establish

 one of the Strickland prongs, the Court need not consider the other. Groves v. United States, 755

 F.3d 588, 591 (7th Cir. 2014). To satisfy the first prong of the Strickland test, the petitioner must

 direct the Court to specific acts or omissions of his counsel. Wyatt v. United States, 574 F.3d 455,

 458 (7th Cir. 2009). The Court must then consider whether in light of all of the circumstances

 counsel's performance was outside the wide range of professionally competent assistance. Id. In

 order to satisfy the prejudice component, Smith must establish that "there is a reasonable

 probability that, but for counsel's unprofessional errors, the result of the proceeding would have

 been different." Strickland, 466 U.S. at 694. Each of Smith's specifications of ineffective assistance

 is discussed below.

        A.      Challenge to Career Offender Enhancement Under § 4B1.1

        On October 25, 2018, Smith filed a motion for relief pursuant to 28 U.S.C. § 2255, and a

 supplement on October 30, 2018. Dkt. 1 and 2. He further amended his arguments on February 12,

 2020. Dkts. 38 and 39. Smith argues that his attorney was ineffective for failing to object to the

 application of the career offender enhancement under § 4B1.1 because 1) his Hobbs Act Robbery

 Convictions are not "crimes of violence"; and 2) his Indiana robbery and burglary convictions were

 not crimes of violence under § 4B1.1. Dkt. 18 at 15; dkt. 38 at 5. Smith argues that had his attorney

 objected to the application of this enhancement he would have received a reduced sentence. The

 United States argues that this action should be dismissed because Smith cannot show that his trial

 counsel was ineffective.



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        "In the sentencing context, an attorney's unreasonable failure to identify and bring to a

 court's attention an error in the court's Guidelines calculations that results in a longer sentence may

 constitute ineffective assistance entitling the defendant to relief." Bridges v. United States, No.

 1:19-cv-00550-TWP, 2020 WL 131447, at * 2 (S.D. Ind. Mar. 20, 2020) (quoting United States v.

 Jones, 635 F.3d 909, 916 (7th Cir. 2011)).

        Smith's first assertion of ineffective assistance of counsel is that his attorney failed to argue

 that Hobbs Act Robbery is not a crime of violence for purposes of § 4B1.1. This assertion must be

 rejected. Smith cannot show that trial counsel's performance was deficient because at the time he

 was sentenced in March of 2018, his Hobbs Act Robbery offense qualified for purposes of § 4B1.1,

 so it would have been futile for his trial counsel to object to his designation as a career offender.

        In the Seventh Circuit Hobbs Act Robbery is a crime of violence. See United States v.

 Ingram, 947 F.3d 1021, 1025-26 (7th Cir. 2020) (Hobbs Act Robbery is a crime of violence under

 § 924(c)(1)(A)); United States v. Anglin, 846 F.3d 954, 965 (7th Cir. 2017) ("Hobbs Act robbery

 is a 'crime of violence' within the meaning of § 924(c)(3)(A)."); Bridges v. United States, No. 1:19-

 cv-00550-TWP, 2020 WL 131447, at * 2 (S.D. Ind. Mar. 20, 2020) (same). And while the Seventh

 Circuit had not directly addressed whether Hobbs Act Robbery is a crime of violence under the

 guidelines at the time Smith was sentenced, it has stated that it has "typically interpreted 'crime of

 violence' the same way under the guidelines and § 924(c)." United States v. Tyler, 780 F. App'x

 360, 363 (7th Cir. 2019) (citing United States v. Campbell, 865 F.3d 853, 857 (7th Cir. 2017)). See

 also United States v. Edwards, 836 F.3d 831, 834 n.2 (7th Cir. 2016) (“[W]e refer to cases dealing

 with the ACCA and the career offender guideline provision interchangeably.”); Welch v. United

 States, 604 F.3d 408, 433 (7th Cir. 2010) (stating that a violent felony under the Armed Career

 Criminal Act should be interpreted identically to a 'crime of violence' in the Sentencing



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 Guidelines). It is only recently that that holding has been called into question. Therefore, Smith's

 trial counsel's conduct was "reasonable[] under prevailing professional norms." Wiggins v. Smith,

 539 U.S. 510, 521 (2003) (quoting Strickland, 466 U.S. at 688). Accordingly, Smith cannot show

 deficient performance on the part of his attorney or any resulting prejudice. No relief is warranted

 on this basis.

         Next Smith's argues that his prior Indiana convictions are not appropriately considered

 crimes of violence to trigger the career offender enhancement of USSG 4B1.1. Smith's career

 criminal status under the Guidelines was supported by the following qualifying prior offenses:

             •    a 2006 Indiana felony burglary conviction (Marion County Superior Court, Cause
                  No. 49G02-0607-FC-122235), Crim. Dkt. 56, ¶ 40;

             •    a 2009 Indiana felony robbery conviction (Marion County Superior Court, Cause
                  No. 49G02-0812-FC-271436), Crim. Dkt. 56, ¶ 42;

             •    A 2009 Indiana felony robbery conviction (Marion County Superior Court, Cause
                  No. 49G05-0901-FC-014232), Crim. Dkt. 56, ¶ 43.

         First, Smith argues that his conviction in Cause No. 49G05-0812-FC-271436 was modified

 by the Indiana Court of Appeals in 2010. Smith v. Indiana, 49A05-905-CR-256 (Ind. Ct. App. Feb.

 18, 2010). As a result, his conviction was reduced from Class C felony robbery to Class C felony

 attempted robbery. Dkt. 38-1 at p. 8. Smith contends that attempted robbery is not a crime of

 violence. Dkt. 38 at 5. In United States v. D.D.B., 903 F.3d 684 (7th Cir. 2018), the Seventh Circuit

 was tasked with deciding, "if Indiana attempted robbery is a crime of violence, or more technically,

 'has as an element thereof the use, attempted use, or threatened use of physical force against the

 person of another.'" D.D.B., 903 at 687. The Seventh Circuit held that attempted robbery in Indiana

 is not a crime of violence. Id. at 693.

         Smith claims that his attorney's performance was deficient because he did not argue that

 Smith's April 14, 2009 Indiana robbery conviction was reduced to "attempted robbery" and did not

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 qualify as a crime of violence under § 4B1.1(b). Dkt. 38, p. 4. In response, the United States argues

 that Smith was not prejudiced by his attorney's performance because he still had two other

 qualifying prior convictions: the September 8, 2006 Indiana felony burglary conviction and the

 April 21, 2009, Indiana felony robbery conviction. Dkt. 42 at p. 9 (citing Crim. Dkt. 56, ¶¶ 40, 43).

        The United States is mistaken. While it is true that both Indiana Burglary and Indiana

 Robbery qualify as crimes of violence under the ACCA, burglary is not an enumerated offense

 listed in § 4B1.2 now or at the time Smith was sentenced. Section 4B1.2(a) defines a crime of

 violence as:

        any offense under federal or state law, punishable by imprisonment for a term
        exceeding one year, that—

        (1) has as an element the use, attempted use, or threatened use of physical force
        against the person of another, or

        (2) is murder, voluntary manslaughter, kidnapping, aggravated assault, a forcible
        sex offense, robbery, arson, extortion, or the use or unlawful possession of a firearm
        described in 26 U.S.C. § 5845(a) or explosive material as defined in 18 U.S.C.
        § 841(c).


 Application note 4 states, "There may be cases in which a burglary involves violence, but does not

 qualify as a 'crime of violence' as defined in §4B1.2(a) and, as a result, the defendant does not

 receive a higher offense level or higher Criminal History Category that would have applied if the

 burglary qualified as a 'crime of violence.' In such a case, an upward departure may be

 appropriate." See United States v. Young, 863 F.3d 685, 687 (7th Cir. 2017) (acknowledging that

 Indiana burglary is not a crime of violence under § 4B1.2(a)).

        As a result, Smith's Indiana convictions for attempted robbery and burglary should not have

 been used to support the § 4B1.1 career offender enhancement. Accordingly, the record no longer

 reflects that Smith had two prior felony convictions of either a crime of violence or a controlled



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 substance offense as those terms are defined by the sentencing guidelines. Under these

 circumstances, there is a reasonable probability that, had counsel objected to these errors that the

 result of the proceeding would have been different. The court acknowledges that this area of the

 law has been rapidly evolving, but contrary to the United States' assertion this court could not

 identify any controlling case law that would have foreclosed counsel's challenges to these predicate

 convictions at sentencing.

        Accordingly, Smith's motion to correct sentence is granted. The judgment in the

 underlying criminal case shall be vacated subject to the imposition of a new sentence. The

 underlying convictions remain intact.

        B.      Failure to Appeal

        On July 17, 2019, Smith filed an amended § 2255 in which he argues that he is entitled to

 relief because he specifically instructed his attorney to file a notice of appeal and counsel failed to

 do so. Dkt. 22. This claim is based on the Supreme Court's 2019 decision in Garza v. Idaho, 139

 S.Ct. 738 (2019), abrogating Nunez v. United States, 546 F.3d 450 (7th Cir. 2008). The Court

 permitted Smith to add this claim, dkt. [23], and the United States filed a response. Dkt. 30. Smith

 filed a reply. Dkt. 34. Given the fact that Smith's motion to correct sentence has been granted and

 the criminal judgment will be vacated, his request that the Court find he is now entitled to appeal

 is moot. Smith will have the opportunity to file a Notice of Appeal after he is resentenced. Under

 these circumstances, an evidentiary hearing on this issue is no longer necessary. See Dkt. 23.

        Finally, the motion to appoint counsel, dkt. [40], is denied. Smith has received all the relief

 to which he is entitled in this action. Counsel shall represent him in the criminal case.




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                                           III. Conclusion

         Smith's motion for case status, dkt. [45], is granted consistent with this Order. For the

  reasons explained in this Entry, Smith is entitled to resentencing based on his attorney's failure to

  challenge his career offender sentencing enhancement.

         The motion to appoint counsel, dkt. [40], is denied.

         The clerk is directed to docket a copy of this Order in 1:16-cr-129-JMS-TAB-1. The

  motion to vacate in the criminal case, crim. dkt. [76], is granted. The Judgment in the criminal

  case entered on March 9, 2018, is vacated. Smith's convictions remain intact subject to

  resentencing. Smith shall remain in custody pending resentencing.

         IT IS SO ORDERED.




          Date: 1/11/2021




  Distribution:

  MARVIN SMITH
  15250-028
  OXFORD - FCI
  OXFORD FEDERAL CORRECTIONAL INSTITUTION
  Inmate Mail/Parcels
  P.O. BOX 1000
  OXFORD, WI 53952

  Peter A. Blackett
  UNITED STATES ATTORNEY'S OFFICE (Indianapolis)
  peter.blackett@usdoj.gov




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